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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )     Chapter 11
                                                                     )
    YELLOW CORPORATION, et al.,1                                     )     Case No. 23-11069 (CTG)
                                                                     )
                               Debtors.                              )     (Jointly Administered)
                                                                     )

                     MOTION OF DEBTORS FOR ENTRY OF
                 AN ORDER (I) AUTHORIZING THE DEBTORS TO
          RETAIN AND COMPENSATE PROFESSIONALS UTILIZED IN THE
       ORDINARY COURSE OF BUSINESS AND (II) GRANTING RELATED RELIEF

             The above-captioned debtors and debtors in possession (collectively, the “Debtors”) state

as follows in support of this motion:2

                                                 Relief Requested

             1.        The Debtors seek entry of an order, substantially in the form attached hereto as

Exhibit A (the “Order”), (a) authorizing, but not directing, the Debtors to retain and compensate

the OCPs (as defined herein) on a postpetition basis pursuant to the procedures set forth herein

(the “OCP Procedures”), without the need for each OCP to file a formal application for retention

and compensation, and (b) granting related relief.




1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.
2
      A detailed description of the Debtors and their businesses, including the facts and circumstances giving rise to
      the Debtors’ chapter 11 cases, is set forth in the Declaration of Matthew A. Doheny, Chief Restructuring Officer
      of Yellow Corporation, in Support of the Debtors’ Chapter 11 Petitions and First Day Motions [Docket No. 14]
      (the “First Day Declaration”). Capitalized terms used but not immediately defined in this motion have the
      meanings ascribed to them later in this motion or in the First Day Declaration, as applicable.



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                                            Jurisdiction and Venue

           2.          The United States District Court for the District of Delaware has jurisdiction over

this matter pursuant to 28 U.S.C. § 1334, which was referred to the United States Bankruptcy

Court for the District of Delaware (the “Court”) under 28 U.S.C. § 157 pursuant to the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29, 2012. The Debtors confirm their consent, pursuant to rule 9013-1(f) of the

Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the

District of Delaware (the “Local Rules”), to the entry of a final order by the Court in connection

with this motion to the extent that it is later determined that the Court, absent consent of the parties,

cannot enter final orders or judgments in connection herewith consistent with Article III of the

United States Constitution.

           3.          Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

           4.          The statutory bases for the relief requested herein are sections 105(a), 327, 328,

330, and 363 of title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy

Code”), rules 2002 and 6004 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), and Local Rules 2002-1 and 9013-1.

                                                  Background

           5.          On August 6, 2023 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code. These chapter 11 cases have been

consolidated for procedural purposes only and are being jointly administered pursuant to

Bankruptcy Rule 1015(b) [Docket No. 169]. The Debtors are managing their businesses and their

properties as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

On August 16, 2023, the United States Trustee for the District of Delaware (the “U.S. Trustee”)



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appointed an official committee of unsecured creditors [Docket No. 269] (the “Committee”). No

trustee or examiner has been appointed in these chapter 11 cases.

                                     The Ordinary Course Professionals

           6.          The Debtors employ various attorneys, accountants, consultants, staffing firms, tax

professionals, and other professionals (collectively, the “OCPs”) in the ordinary course of their

business. The OCPs provide services for the Debtors in a variety of matters unrelated to these

chapter 11 cases, including specialized legal services, accounting services, auditing and tax

services, and certain consulting services. Nonexclusive lists of the Debtors’ current OCPs are

attached as Exhibit 2, Exhibit 3, and Exhibit 4 to the Order (collectively, the “OCP List”).3

           7.          The continued employment and compensation of the OCPs is in the best interests

of the Debtors’ estates, their creditors, and other parties in interest. The OCPs have significant

knowledge, expertise, and familiarity with the Debtors and their operations. Although the Debtors

anticipate that the OCPs will continue to represent the Debtors during these chapter 11 cases, many

will not do so if the Debtors cannot pay them on a regular basis. The Debtors undoubtedly would

incur additional and unnecessary expenses in educating and retaining replacement professionals

without the knowledge, expertise, and familiarity the OCPs have. Accordingly, the Debtors’

estates and their creditors are best served by avoiding any disruption in the professional services

that are required to facilitate the cost-effective wind-down of their operations and administration

of these chapter 11 cases. Moreover, in light of the costs associated with the preparation of

employment applications for professionals who will receive relatively modest fees, it would be




3
     The Debtors reserve the right to retain additional OCPs from time to time during these chapter 11 cases, as the
     need arises, by filing a list or lists of such additional professionals and complying with the notice requirements
     set forth in the OCP Procedures.


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impractical, inefficient, and costly for the Debtors and their legal advisors to prepare and submit

individual applications and proposed retention orders for each OCP.

           8.          The Debtors are not requesting authority to pay prepetition amounts owed to OCPs.

Although some of the OCPs may hold unsecured claims against the Debtors relating to services

rendered to the Debtors prepetition, the Debtors do not believe that any of the OCPs have an

interest materially adverse to the Debtors, their creditors, or other parties in interest.

                                            The OCP Procedures

           9.          The Debtors request that the Court approve the following OCP Procedures for

retention and payment of the OCPs:

           a. Within thirty days after the later of (i) the date of entry of the Order or (ii) the
              date on which an OCP commences work for the Debtors, such OCP shall file,
              or cause to be filed, a declaration of disinterestedness, substantially in the form
              attached as Exhibit 1 to the Order (each, a “Declaration of Disinterestedness”),
              with the Court and served upon: (a) the Debtors, Yellow Corporation, 11500
              Outlook Street, Suite 400, Overland Park, Kansas 66211, Attn.: General
              Counsel; (b) proposed counsel to the Debtors (i) Kirkland & Ellis LLP, 300
              North LaSalle, Chicago, IL, 60654, Attn.:                    Whitney Fogelberg
              (whitney.fogelberg@kirkland.com) (ii) Kirkland & Ellis LLP, 601 Lexington
              Avenue, New York, NY 10022, Attn.: Allyson B. Smith
              (allyson.smith@kirkland.com); and (iii) Pachulski Stang Ziehl & Jones LLP,
              919 North Market Street, 17th Floor, PO Box 8705, Wilmington, Delaware
              19801, Attn: Laura Davis Jones (ljones@pszjlaw.com), Timothy P. Cairns
              (tcairns@pszjlaw.com), Peter J. Keane (pkeane@pszjlaw.com), and Edward
              Corma (ecorma@pszjlaw.com); (c) the Office of the United States Trustee for
              the District of Delaware, 844 King Street, Suite 2207, Lockbox 35, Wilmington,
              Delaware 19801, Attn.: Jane Leamy (jane.m.leamy@usdoj.gov) and Richard
              Shepacarter (richard.shepacarter@usdoj.gov); (d) proposed counsel to the
              Committee (i) Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, Bank
              of America Tower, New York, NY 10036-6745 US, Attn: Philip C. Dublin
              (pdublin@akingump.com), Meredith A. Lahaie (mlahaie@akingump.com),
              and Kevin Zuzolo (kzuzolo@akingump.com) and (ii) proposed co-counsel to
              the Committee, Benesch Friedlander Coplan & Aronoff LLP, 1313 North
              Market Street, Suite 1201, Wilmington, DE 19801, Attn: Jennifer R. Hoover
              (jhoover@beneschlaw.com)              and         Kevin         M.         Capuzzi
              (kcapuzzi@beneschlaw.com); (e) counsel to the Junior DIP Lender,
              (i) Quinn Emmanuel Urquhart & Sullivan, 865 S. Figueroa St., 10th Floor, Los
              Angeles, CA 90017, Attn: Eric Winston (ericwinston@quinnemanuel.com);
              and 51 Madison Avenue, 22nd Floor, New York, NY 10010, Attn: Susheel

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                 Kirplani (susheelkirpalani@quinnemanuel.com); and (ii) Ropes & Gray LLP,
                 191 North Wacker Drive, 32nd Floor, Chicago, IL 60606, Attn: Lucas S. Smith
                 (Luke.Smith@ropesgray.com) and 1211 Avenue of the Americas, New York,
                 NY 10036, Attn: Natasha S. Hwangpo (Natasha.Hwangpo@ropesgray.com);
                 (f) counsel to the Junior DIP Agent, Holland & Knight LLP, 50 N. Riverside
                 Plaza, Suite 2700, Chicago IL 60606, Attn. Joshua M. Spencer
                 (Joshua.Spencer@hklaw.com)           and       Phillip       W.       Nelson
                 (Phillip.Nelson@hklaw.com); (g) counsel to the B-2 Lenders, White & Case
                 LLP, 1221 Avenue of the Americas, New York, NY 10020 Attn: Scott
                 Greissman           (sgreissman@whitecase.com),         Elizabeth       Feld
                 (efeld@whitecase.com), and Andrew Zatz (azatz@whitecase.com); (h) counsel
                 to the Prepetition ABL Agent, Choate, Hall & Stewart LLP, Two International
                 Place, Boston, MA 02110, Attn: Kevin Simard (ksimard@choate.com) and
                 Hampton Foushee (hfoushee@choate.com); (i) counsel to the B-2 Agent,
                 Holland & Knight LLP, 50 N. Riverside Plaza, Suite 2700, Chicago IL 60606,
                 Attn. Joshua M. Spencer (Joshua.Spencer@hklaw.com) and Phillip W. Nelson
                 (Phillip.Nelson@hklaw.com); (j) counsel to the Prepetition UST Tranche A
                 Agent, Hogan Lovells US LLP, 390 Madison Avenue, New York, NY 10017,
                 Attn: Ronald J. Silverman and Christopher R. Bryant; (k) counsel to the
                 Prepetition UST Tranche B Agent, Hogan Lovells US LLP, 390 Madison
                 Avenue, New York, NY 10017, Attn: Ronald J. Silverman
                 (ronald.silverman@hoganlovells.com)       and    Christopher     R.   Bryant
                 (chris.bryant@hoganlovells.com); (l) counsel to the United States Department
                 of the Treasury, Arnold & Porter Kaye Scholer LLP, 70 West Madison Street,
                 Suite 4200, Chicago, IL 60602, Attn: Michael Messersmith
                 (michael.messersmith@arnoldporter.com), 250 West 55th Street, New York,
                 NY 10019, Attn: Benjamin Mintz (benjamin.mintz@arnoldporter.com), and
                 601 Massachusetts Ave., N.W., Washington, DC 20001, Attn: Rosa Evergreen
                 (rosa.evergreen@arnoldporter.com); and (m) the United States Department of
                 Justice, 1100 L St NW Rm 7102, Washington, DC 20005-4035, Attn: I-
                 Heng.Hsu          (I-Heng.Hsu@usdoj.gov)        and        Crystal     Geise
                 (Crystal.Geise@usdoj.gov) (collectively, the “Notice Parties”).

           b. The Notice Parties shall have fourteen days after the date of filing of each
              OCP’s Declaration of Disinterestedness (the “Objection Deadline”) to object to
              the retention of such OCP. The objecting party shall file any such objection
              and serve such objection upon the Notice Parties and the respective OCP on or
              before the Objection Deadline. If any such objection cannot be resolved within
              fourteen days of its receipt, the matter shall be scheduled for hearing before the
              Court at the next regularly scheduled omnibus hearing date that is no less than
              fourteen days from that date or on a date otherwise agreeable to the parties. The
              Debtors shall not be authorized to retain and compensate such OCP until all
              outstanding objections have been withdrawn, resolved, or overruled by order of
              the Court.

           c. If no objection is received from any of the Notice Parties by the Objection
              Deadline with respect to any particular OCP, the Debtors shall be authorized,

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                 but not directed, to: (i) retain such OCP as of the date such OCP commenced
                 providing services to the Debtors and (ii) compensate such OCP as set forth
                 below.

           d. The Debtors shall be authorized, but not directed, to pay, without formal
              application to the Court by any OCP, 100 percent of fees and disbursements to
              each of the OCPs retained by the Debtors pursuant to the OCP Procedures upon
              submission to the Debtors of an appropriate invoice setting forth in reasonable
              detail the nature of the services rendered after the Petition Date; provided that
              fees paid to each OCP set forth on Exhibit 2 attached to the Order, excluding
              costs and disbursements, may not exceed $225,000 per month per OCP,
              calculated as an average over a rolling three-month period, while these chapter
              11 cases are pending (the “Tier 1 OCP Monthly Cap”), the fees of each OCP
              set forth in Exhibit 3 attached to the Order, excluding costs and disbursements,
              may not exceed $100,000 per month per OCP, calculated as an average over a
              rolling three-month period, while these chapter 11 cases are pending
              (the “Tier 2 OCP Monthly Cap”), and the fees of each OCP set forth in
              Exhibit 4 attached to the Order, excluding costs and disbursements, may not
              exceed $25,000 per month per OCP, calculated as an average over a rolling
              three-month period, while these chapter 11 cases are pending (the “Tier 3 OCP
              Monthly Cap”); provided, further, that the total amount disbursed per quarter,
              for each OCP set forth on Exhibit 2, does not exceed $675,000 per OCP
              (the “Tier 1 OCP Quarterly Cap”), the total amount disbursed per quarter, for
              each OCP set forth on Exhibit 3, does not exceed $300,000 per OCP (the “Tier 2
              OCP Quarterly Cap”), and the total amount disbursed per quarter, for each OCP
              set forth on Exhibit 4, does not exceed $75,000 per OCP (the “Tier 3 OCP
              Quarterly Cap,” and together with the Tier 1 OCP Monthly Cap, Tier 1 OCP
              Quarterly Cap, Tier 2 OCP Monthly Cap, Tier 2 OCP Quarterly Cap, and the
              Tier 3 OCP Monthly Cap, the “OCP Caps”). The OCP Caps may be increased
              by mutual agreement between the Debtors, the U.S. Trustee, the DIP Agent, the
              Junior DIP Lender, the Junior DIP Agent, the B-2 Lenders, the B-2 Agent, and
              the Committee; provided that the Debtors shall file a notice with the Court and
              submit notice to the Notice Parties of any such agreed increase.

           e. To the extent that fees payable to any OCP exceed the applicable OCP Cap, the
              OCP shall file a fee application (a “Fee Application”) with the Court for the
              amount in excess of the applicable OCP Cap pursuant to sections 330 and 331
              of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, the fee
              guidelines promulgated by the Office of the United States Trustee, and any
              applicable orders of the Court, unless the United States Trustee agrees
              otherwise.

           f. Beginning on the quarter ending September 30, 2023, and for each quarter
              thereafter during which these chapter 11 cases are pending, the Debtors shall,
              within thirty days thereof, file with the Court and serve on the Notice Parties a
              statement with respect to each OCP paid during the immediately preceding
              quarterly period (the “Quarterly Statement”). Each Quarterly Statement shall

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                 include: (i) the name of the OCP; (ii) the aggregate amounts paid as
                 compensation for services rendered and reimbursement of expenses incurred by
                 that OCP during the reported quarter; and (iii) a general description of the
                 services rendered by that OCP.

           g. The Debtors reserve the right, in consultation with the Committee, to retain
              additional OCPs from time to time during these chapter 11 cases by including
              such OCPs on an amended version of the OCP List that is filed with the Court
              and served on the Notice Parties and having such OCPs comply with the
              OCP Procedures.

                                               Basis for Relief

           10.         Section 327 of the Bankruptcy Code requires court approval for the employment of

“professional persons” retained to represent or perform services for the estate. In determining

whether an entity is a “professional” within the meaning of section 327 of the Bankruptcy Code

and, therefore, must be retained by express approval of the court, courts generally consider whether

such entity is involved in the actual reorganization effort, rather than a debtor’s ongoing business

operations. See, e.g., Comm. of Asbestos-Related Litigants and/or Creditors v. Johns-Manville

Corp. (In re Johns-Manville Corp.), 60 B.R. 612, 619 (Bankr. S.D.N.Y. 1986) (“[T]he phrase

‘professional persons,’ as used in § 327(a), is a term of art reserved for those persons who play an

intimate role in the reorganization of a debtor’s estate.”). In making this determination, courts

often consider the following factors in determining whether an entity is a “professional” within the

meaning of section 327 of the Bankruptcy Code:

           a.          whether the entity controls, manages, administers, invests, purchases, or
                       sells assets that are significant to the debtor’s reorganization;

           b.          whether the entity is involved in negotiating the terms of a plan of
                       reorganization;

           c.          whether the entity’s employment is directly related to the type of work
                       carried out by the debtor or to the routine maintenance of the debtor’s
                       business operations;




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           d.          whether the entity is given discretion or autonomy to exercise its own
                       professional judgment in some part of the administration of the debtor’s
                       estate;

           e.          the extent of the entity’s involvement in the administration of the debtor’s
                       estate; and

           f.          whether the entity’s services involve some degree of special knowledge or
                       skill, such that it can be considered a “professional” within the ordinary
                       meaning of the term.

See, e.g., In re First Merchs. Acceptance Corp., No. 97-1500 (JJF), 1997 WL 873551, at *3

(D. Del. Dec. 15, 1997) (listing factors); see also In re Am. Tissue, Inc., 331 B.R. 169, 174

(Bankr. D. Del. 2005) (applying the First Merchs. factors and holding that a litigation consulting

firm was not a “professional” for purposes of section 327 of the Bankruptcy Code as the litigation

consulting firm “did not play a central or significant role in the overall administration of the

[d]ebtors’ estate”); In re Riker Indus., Inc., 122 B.R. 964, 973 (Bankr. N.D. Ohio 1990) (finding

that the fees of a management and consulting firm that performed only “routine administrative

functions” and whose “services were not central to [the] bankruptcy case” did not require approval

under section 327 of the Bankruptcy Code); In re Fretheim, 102 B.R. 298, 299 (Bankr. D. Conn.

1989) (noting that only those professionals involved in the “administration of the debtor’s estate,”

rather than the debtor’s ongoing business, require approval under section 327 of the Bankruptcy

Code). The foregoing factors must be considered as a whole when determining if an entity is a

“professional” within the meaning of section 327 of the Bankruptcy Code. None of the factors

alone is dispositive. See First Merchs., 1997 WL 873551, at *3 (“In applying these factors, the

Court stresses that no one factor is dispositive and that the factors should be weighed against each

other and considered in total.”).

           11.         Upon consideration of all the factors, and because the OCPs will not be involved in

the administration of these chapter 11 cases, the Debtors do not believe that the OCPs are


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“professionals” requiring formal retention proceedings under section 327 of the Bankruptcy Code.

Instead, the OCPs will provide services in connection with the wind-down of the Debtors’ business

operations, which services are ordinarily provided by non-bankruptcy professionals. Nevertheless,

to provide clarity and an opportunity for oversight, the Debtors seek the relief requested herein to

establish clear mechanisms for retention and compensation of the OCPs pursuant to the OCP

Procedures and thereby avoid any subsequent controversy with respect thereto.

           12.         Retaining the OCPs as provided herein is reasonably necessary for the cost-efficient

wind-down of the Debtors’ business, including facilitating the sale and marketing process for the

Debtors’ assets, and the Debtors will closely monitor expenses for the OCPs. In addition, the

OCPs will not perform substantial bankruptcy-related services without filing an application with

the Court for separate retention as a non-ordinary course professional.

           13.         Moreover, in light of the number of OCPs and the costs associated with the

preparation of retention applications for professionals who will receive relatively modest fees, it

would be impractical, inefficient, and extremely costly for the Debtors and their legal advisors to

prepare and submit individual applications and proposed retention orders for each OCP.

Therefore, it is in the best interests of all creditors and parties in interest to retain the OCPs in

accordance with the OCP Procedures and avoid any disruption in the professional services that are

required for the day-to-day operation of the Debtors’ business.

           14.         Although some of the OCPs may hold unsecured claims against the Debtors relating

to services rendered to the Debtors prepetition, the Debtors do not believe that any of the OCPs

have an interest materially adverse to the Debtors, their creditors, or other parties in interest. In

any event, the OCP Procedures include a requirement that each OCP file a Declaration of

Disinterestedness before an OCP can be compensated.



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           15.         The relief requested herein is commonly granted by courts in this district. See, e.g.,

In re PGX Holdings, No. 23-10718 (CTG) (Bankr. D. Del. July 19, 2023) (approving comparable

OCP procedures); In re SiO2 Medical Products, Inc., No. 23-10366 (JTD) (Bankr. D. Del. Apr.

24, 2023) (same); In re Carestream Health, Inc., No. 22-10778 (JKS) (Bankr. D. Del. Sept. 22,

2022) (same); In re Riverbed Tech., Inc., No. 21-11503 (CTG) (Bankr. D. Del. Nov. 18, 2021)

(same); In re Alex and Ani, LLC, No. 21-10918 (CTG) (Bankr. D. Del. July 14, 2021) (same).4

           16.         For the reasons set forth herein, the relief requested is in the best interest of the

Debtors, their estates, creditors, and other parties in interest, and therefore should be granted.

                               Waiver of Bankruptcy Rule 6004(a) and 6004(h)

           17.         To implement the foregoing successfully, the Debtors seek a waiver of the notice

requirements under Bankruptcy Rule 6004(a) and the fourteen-day stay of an order authorizing the

use, sale, or lease of property under Bankruptcy Rule 6004(h).

                                                      Notice

           18.         The Debtors will provide notice of this motion to:               (a) the U.S. Trustee;

(b) the Committee and Akin Gump Strauss Hauer & Feld LLP as counsel to the Committee; (c) the

office of the attorney general for each of the states in which the Debtors operate; (d) United States

Attorney’s Office for the District of Delaware; (e) the Internal Revenue Service; (f) the United

States Securities and Exchange Commission; (g) the Junior DIP Lender and counsel thereto;

(h) the Junior DIP Agent and counsel thereto; (i) White & Case LLP, as counsel to the B-2 Lenders;

(j) the Prepetition ABL Agent and counsel thereto; (k) the B-2 Agent and counsel thereto; (l) the

Prepetition UST Tranche A Agent and counsel thereto; (m) the Prepetition UST Tranche B Agent,




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     Because of the voluminous nature of the orders cited herein, such orders have not been attached to this motion.
     Copies of these orders are available upon request to the Debtors’ proposed counsel.


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and counsel thereto; (n) the United States Department of Justice and Arnold & Porter Kaye Scholer

LLP as counsel to the United States Department of the Treasury; and (o) any party that has

requested notice pursuant to Bankruptcy Rule 2002 (collectively, the “Notice Parties”). In light of

the nature of the relief requested, no other or further notice need be given.

                                               No Prior Request

           19.         No prior request for the relief sought in this motion has been made to this or any

other court.



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           WHEREFORE, the Debtors request entry of the Order, substantially in the form attached

hereto as Exhibit A (a) granting the relief requested herein and (b) granting such other relief as

the Court deems appropriate under the circumstances.

Dated: August 31, 2023
Wilmington, Delaware

/s/ Laura Davis Jones
Laura Davis Jones (DE Bar No. 2436)              Patrick J. Nash Jr., P.C. (admitted pro hac vice)
Timothy P. Cairns (DE Bar No. 4228)              David Seligman, P.C. (admitted pro hac vice)
Peter J. Keane (DE Bar No. 5503)                 Whitney Fogelberg (admitted pro hac vice)
Edward Corma (DE Bar No. 6718)                   KIRKLAND & ELLIS LLP
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                                                 Proposed Co-Counsel for the Debtors and Debtors in
                                                 Possession




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